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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Criminal Case No. 01-cr-00214-WYD

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.     WILLIE SMALL, et al.,

            Defendants.
______________________________________________________________________________

                                 MOTION TO WITHDRAW


       The United States of America, by Troy A. Eid, United States Attorney for the District of

Colorado, and Guy Till, Assistant United States Attorney, hereby files its Motion to Withdraw

requesting that AUSA Kathleen M. Tafoya be permitted to withdraw as counsel of record in the

above-captioned case. As grounds for this motion, the government states that AUSA Kathleen

M. Tafoya is no longer with the U.S. Attorney’s Office.

       Dated this 10th day of January, 2008.

                                               Respectfully submitted,

                                               TROY A. EID
                                               United States Attorney

                                               By: s/Guy Till
                                               GUY TILL
                                               Assistant United States Attorney
                                               U.S. Attorney’s Office
                                               1225 17th Street, Suite 700
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                                               Phone: (303) 454-0100
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                                               Guy.Till@usdoj.gov
                                               Attorney for Government
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 10th day of January, 2008, I electronically filed the foregoing
MOTION TO WITHDRAW with the Clerk of the Court using the CM/ECF system which will
send notification of such filing to counsel of record in this case.



                                                s/Diana Brown
                                               DIANA BROWN
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